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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

CHRISTOPHER C. DIGGS                                                             PLAINTIFF

VS.                                               CIVIL ACTION NO. 1:15CV186-SA-DAS

THE BURLINGTON NORTHERN AND
SANTA FE RAILWAY COMPANY                                                       DEFENDANT

           REBUTTAL TO PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT

            To avoid summary judgment, Plaintiff Christopher Diggs must specify admissible

evidence from which a reasonable jury might find that his race or disability—and not his

delinquent submission of requested medical information—was why BNSF Railway Company

took so long to return him to work. But his response to BNSF’s summary judgment motion fails

to identify any employee treated more favorably by the decision-maker, Dr. Laura Gillis, under

substantially similar circumstances or to respond with more than conclusory assertions to

BNSF’s argument that he lacks any admissible evidence of discrimination. Mr. Diggs has failed

to identify material facts that would allow him to make out a prima facie case of race or

disability discrimination against BNSF, much less to rebut the legitimate safety-related reason

BNSF has articulated for its standard return-to-work review of Mr. Diggs’ records. There is no

dispute that when he submitted complete records, Dr. Gillis approved his request to return to

work. There is no evidence that she would not have made the same decision earlier if he had

submitted those records. Accordingly, summary judgment dismissing his claims is warranted

and should be entered.

                                            FACTS

            As discussed fully in BNSF’s Memorandum Supporting Defense Summary Judgment

Motion (“Memorandum”), Mr. Diggs is a BNSF train-service employee who claims BNSF


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unlawfully delayed his return to work from a years-long medical leave because of his race and

disability, in violation of Title VII, 42 U.S.C. § 1981, and the Americans with Disabilities Act.

Following standard practice for BNSF’s Medical and Environmental Health Department

(“Medical Department”), because Mr. Diggs had been out on leave for over a year, BNSF’s

evaluating physician, Dr. Gillis, required him to provide medical records underlying his treating

physicians’ opinions so that she could review them and determine whether he was fit to return to

his physically rigorous and safety-sensitive job. Mr. Diggs claims that Dr. Gillis discriminated

against him by not simply deferring to his physicians’ fitness opinions.

            The “Facts” sections of Mr. Diggs’ response and supporting brief are consumed in part

by allegations unrelated to Dr. Gillis, the Medical Department, or the decisions Mr. Diggs

purportedly challenges.        They discuss alleged racial harassment by anonymous BNSF

employees, all of which is alleged to have occurred in and around Amory years prior to Dr.

Gillis’ 2013 arrival two states away at BNSF’s Fort Worth office.1 They also detail alleged

statistical representation of African Americans at the Amory facility.

            Mr. Diggs does not dispute that he took medical leave from BNSF in 2009 because of

disabling foot injuries; that he repeatedly claimed to be totally disabled during his leave; that he

applied to return to work at BNSF in 2014 only after an absence exceeding five years; that he

was being treated for diabetes, myopathy and continuing chronic foot problems at the time he

applied to return; that he received requests from BNSF’s Medical Department for records from

the physicians treating him for those conditions;           that he did not provide all information
            1
         Mr. Diggs settled a race-discrimination lawsuit against BNSF in 2001, releasing the company
from “any and all actions, causes of action, claims, demands, damages, losses, compensation, and liability
of any and every kind and character whatsoever which the undersigned may now have or hereafter accrue
on account of or in any way growing out of or connected with alleged acts of discrimination and
harassment during Chris Diggs’ employment with BNSF.” See Release, Rebuttal Exhibit 1 (redacted to
exclude settlement amount per agreement’s confidentiality terms); see also Diggs Deposition Excerpts,
Rebuttal Exhibit 2, 73:2-10.


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requested by BNSF until 2016; or that Dr. Gillis approved his return to work on September 12,

20162 after receiving complete responses to her requests. Mr. Diggs does not and cannot dispute

that Dr. Gillis would have approved his return to work earlier if he had submitted the requested

materials earlier.

                              SUMMARY-JUDGMENT STANDARD

            Like the factual background of this matter, the well-known summary-judgment standard

of Rule 56—allowing for dismissal of claims not supported by “a genuine issue of material

fact”—is discussed in detail in BNSF’s Memorandum. However, BNSF reiterates here the

requirements for a non-movant to defeat a properly supported motion for summary judgment. It

is the responsibility of the Plaintiff to demonstrate a genuinely disputed issue of material fact by

“citing to particular parts of materials in the record.” Fed. R. Civ. P. 56(c)(1); Turner v. Aurora

Australis Lodge, 2014 U.S. Dist. LEXIS 127961, at *7-*8 (N.D. Miss. 2014) (Aycock, J.) (“[I]t

is not the Court’s duty to sift through the record to find evidence to support her opposition to

summary judgment.”). And, as the United States Supreme Court has held, the existence of

factual disputes will only preclude summary judgment if there are genuine issues of material

fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-8 (1986) (finding that the summary

judgment standard “provides that the mere existence of some alleged factual dispute between the

parties will not defeat an otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact”) (emphasis added).                   Thus,

“[f]actual disputes that are irrelevant or unnecessary will not be counted” in deciding whether

affidavits, discovery responses, and deposition testimony create a genuine issue of material fact.

Id. at 248.

            2
         Mr. Diggs’ Response claims that he is “currently in the process of attempting to finally return to
work.” In fact, he returned to active duty at BNSF’s Amory facility in October 2016.


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                                            ARGUMENT

            Obligated to identify competent direct or indirect evidence of race or disability

discrimination in response to BNSF’s summary judgment motion, Mr. Diggs fails entirely. To

BNSF’s argument that he lacks direct evidence of race or disability discrimination, he responds

only with conclusory disagreement. The absence of any comparator to support an indirect, prima

facie case of either kind of discrimination, meanwhile, remains as conspicuous as before Mr.

Diggs filed his response. Finally, Mr. Diggs identifies no material fact supporting a conclusion

that Dr. Gillis delayed his return-to-work approval for any reason other than that he delayed

submitting the medical information that she requested.3

            I.     Mr. Diggs has no direct evidence of race or disability discrimination.

            As pointed out in BNSF’s Memorandum, Mr. Diggs may prove race or disability

discrimination with “evidence that, if believed, proves the fact of discriminatory animus without

inference or presumption.” Sandstad v. CB Richard Ellis, Inc., 309 F.3d 893, 897 (5th Cir.

2002). To amount to such “direct” evidence in the Fifth Circuit under either ADA or Title VII,

alleged statements must be 1) related to the protected class of persons of which the plaintiff is a

member; 2) proximate in time to the adverse employment action; 3) made by an individual with

authority over the employment decision at issue; and 4) related to the employment decision at

issue. Rodriguez v. Eli Lilly & Co., 820 F.3d 759, 764-765 (5th Cir. 2016). And even direct

evidence is incompetent for summary-judgment purposes if it is inadmissible hearsay. See

Fairchild, 815 F.3d at 965-967; Harris, 635 F.3d at 692 (“Hearsay evidence inadmissible at trial

cannot be used to create a genuine issue of material fact to avoid summary judgment”).

            3
         A railroad employer has a duty to take reasonable care not to subject employees to injurious
work conditions. Mr. Diggs litigated exactly that claim against BNSF during his 2009-2014 leave. See
FELA Complaint, Motion Exhibit 3. Had Dr. Gillis not taken reasonable care to assure herself of Mr.
Diggs’ recovery, his re-injury might have given Mr. Diggs a better, second shot at such a recovery from
BNSF. The Court should not facilitate such whipsaw litigation tactics.


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            Mr. Diggs cites no “direct evidence” other than 1) alleged statements from BNSF

employee Isiah Waller to Mr. Diggs that unspecified BNSF employees did not want him to

return to work and 2) alleged statements communicating the same to Mr. Waller from BNSF

employees Carter Tuggle and Benjamin Gillam. As set forth fully in BNSF’s Memorandum,

these statements aren’t “direct evidence” of discriminatory animus for multiple reasons: (1)

because inference or presumption is required to discern any animus in them; (2) because none

related to the subject decision to require Mr. Diggs to submit requested medical information

before returning to work; and (3) because no summary-judgment evidence contradicts Dr. Gillis’

status as the only BNSF employee with authority to make that decision.

            In response, Mr. Diggs simply asserts without explaining that the alleged statements are

“direct evidence of race discrimination” and “Waller, Tuggle and Gillam are managers for

Defendant, discussing matters in the course and scope of their employment; thus their statements

are not hearsay.” As is well-settled, though, a summary judgment non-movant “cannot rely upon

conclusory allegations, speculation, and unsubstantiated assertions to satisfy his burden.”

Ramsey v. Henderson, 286 F.3d 264, 269 (5th Cir. 2002). An issue is “deemed abandoned” if

supported only by “conclusory allegations and statements.” Williams v. Martin, 570 F. App’x

361, 363 (5th Cir. 2014). Presenting only bare conclusions in response to BNSF’s argument that

he has no direct evidence, Mr. Diggs’ response creates no triable fact issue regarding direct

evidence.

            II.    Mr. Diggs’ response fails to identify a comparator Dr. Gillis treated more
                   favorably under substantially similar circumstances and thus fails to
                   demonstrate a viable case of either race or disability discrimination with
                   indirect evidence.

            To state a prima facie case of disparate treatment with indirect evidence under either the

ADA or Title VII, Mr. Diggs was required to show that (1) he is a member of a protected class;



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(2) he is otherwise qualified for his job; (3) BNSF took some adverse action against him; and (4)

he was treated less favorably than a similarly situated comparator from outside his protected

class.4 See McInnis v. Alamo Cmty. Coll. Dist., 207 F.3d 276, 279 (5th Cir. 2000) (regarding

ADA claims); Nasti v. CIBA Specialty Chems. Corp., 492 F.3d 589, 593 (5th Cir. 2007)

(regarding Title VII race-discrimination claims); Daigle v. Liberty Life Ins. Co., 70 F.3d 394, 396

(5th Cir.1995) (finding ADA claims subject to the same method of proof as Title VII cases). For

purposes of its summary-judgment motion, BNSF has assumed that Mr. Diggs could create a

triable fact issue regarding (1), (2) and (3). But the lack of a triable fact issue regarding (4) is

fatal to his claims. If Mr. Diggs “has not made such a showing” of a preferred comparator, he

“has not established a prima facie case of racial discrimination under the Title VII5 framework.”

Turner, 2014 U.S. Dist. LEXIS 127961, at *7; see also Okoye v. Univ. of Tex. Houston Health

Sci. Ctr., 245 F.3d 507, 512-513 (5th Cir. 2001) (“[T]o establish disparate treatment a plaintiff


            4
         This test is part of the framework set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792
(1973). A slightly different standard was articulated by the Fifth Circuit in Rhodes v. Guiberson Oil
Tools, 75 F.3d 989, 993 (5th Cir. 1996):
                   Thus, a jury issue will be presented and a plaintiff can avoid summary
                   judgment and judgment as a matter of law if the evidence taken as a
                   whole (1) creates a fact issue as to whether each of the employer’s stated
                   reasons was what actually motivated the employer and (2) creates a
                   reasonable inference that [discrimination] was a determinative factor in
                   the actions of which plaintiff complains. The employer, of course, will be
                   entitled to summary judgment if the evidence taken as a whole would not
                   allow a jury to infer that the actual reason for the discharge was
                   discriminatory.

Id. at 994. Mr. Diggs’ brief does not argue that this motion should be analyzed under Rhodes rather than
McDonnell Douglas, and his claims could not survive summary judgment under either standard.
            5
          Citing EEOC v. LHC Group, Inc., 773 F.3d 688, 695 (5th Cir. 2014), a failure-to-accommodate
claim, Mr. Diggs argues that the Fifth Circuit has eliminated identification of a comparator as a prima
facie element of ADA claims. But the Fifth Circuit has twice since that case required disability-
discrimination plaintiffs to demonstrate that they were treated less favorably than similarly situated
employees. See Burton v. Freescale Semiconductor, Inc., 798 F.3d 222, 230 (5th Cir. 2015); Hoffman v.
Baylor Health Care Sys., 597 F. App’x 231, 234-35 (5th Cir. 2015). And, even if comparator evidence is
not mandatory, some proof of discrimination is.


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must show that the employer gave preferential treatment to another employee under nearly

identical circumstances.”) (internal alterations and quotation marks omitted).

            But Mr. Diggs has neglected throughout this litigation to identify any valid comparator,

and his response to BNSF’s summary judgment motion does not address that deficiency. In

arguing that Mr. Diggs has established a prima facie case under both ADA and Title VII, the

response fails to mention any other BNSF employee that Dr. Gillis allegedly treated more

favorably than Mr. Diggs under substantially similar circumstances. Elsewhere, the response

names one other BNSF employee—John Eden Martin, a white male—who allegedly “was out

three times on medical leave and did not have to provide his medical records, only a doctor’s

release to return to work.” This brief description falls well short of establishing the “nearly

identical” circumstances required for the Court to accept Mr. Martin as a comparator for Mr.

Diggs. Mayberry v. Vought Aircraft Co., 55 F.3d 1086, 1090 (5th Cir. 1995). “Nearly identical

circumstances” occur “when the employees being compared held the same job or

responsibilities, shared the same supervisor or had their employment status determined by the

same person, and have essentially comparable [work] histories.” Lee v. Kansas City S. Ry. Co.,

574 F.3d 253, 259 (5th Cir. 2009). For several reasons, such circumstances are missing here.

First, the record establishes beyond dispute that Mr. Diggs’ and Mr. Martin’s employment

statuses were determined by different BNSF officials—Dr. Gillis, the decision-maker in Mr.

Diggs’ case, has never made any decision relative to Mr. Martin’s employment. See Gillis

Affidavit, Motion Exhibit 17, at ¶17. Second, Mr. Diggs has presented no evidence to show that

Mr. Martin’s injury was as severe as his. Third, he acknowledges that Mr. Martin was “off work




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for a few months,” whereas had been off work for five years when he applied to return to work.

See Complaint, at ¶6.6

            In sum, Mr. Diggs’ response fails to point to any proof that he and Mr. Martin were

treated differently by the same decision-maker under substantially similar circumstances.7

Consequently, it fails to present Mr. Martin—or anyone else—as a viable comparator in Mr.

Diggs’ discrimination claims. Absent a comparator, those claims are untenable. Okoye, 245

F.3d at 512-513.

            III.   Mr. Diggs has failed to show that BNSF’s stated reason for requiring a
                   review of his medical records before he returned to work was a cover for
                   unlawful discrimination.

            What is the evidence that Dr. Gillis requested the records in question because of bias

against Mr. Diggs’ race or disability? No compelling answer is specified in the response.

Because that is the legitimate reason BNSF proffers for the time it took to reinstate Mr. Diggs,

there is no proof of pretext.

            In support of his claim that there are material fact issues regarding whether BNSF’s

stated reason is a pretext, Mr. Diggs points to 12 averments dubbed “evidence” but




            6
          As Dr. Gillis explained in undisputed testimony, the length of an employee’s absence
necessarily influences the nature of the return-to-work review. See Gillis Declaration, Motion Exhibit 17;
Gillis Deposition Excerpts, Motion Exhibit 45, at 16:2-20. It’s “standard practice” for the Medical
Department to require employees out for more than a year to complete a medical questionnaire. See
Motion Exhibit 45, at 16:2-20. Mr. Diggs doesn’t point to any evidence that any of Mr. Martin’s leaves
were more than a year, such that he would have been required to complete a medical questionnaire. To
the contrary, according to Mr. Martin’s testimony, he never has. See Excerpts from Deposition Transcript
of John Eden Martin, Rebuttal Exhibit 3, at 11:9-20 (recalling a leave of 10 months in 1993 and
subsequent leaves of “six weeks maybe” and “six weeks to two months.”)
            7
          Mr. Diggs also supports his claims by citing testimony that BNSF employees Tim Grubbs and
Isiah Waller were not aware of another employee who had to submit medical records before returning to
work. But this 1) still fails to identify a comparator and 2) is illogical if offered as proof that there were
no other such employees. “As the saying goes, the absence of evidence does not equal evidence of
absence.” Johnson v. PPI Tech. Servs., L.P., 613 F. App’x 309, 312 (5th Cir. 2015).


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unaccompanied by the required Rule 56(c) record citations. Only five relate to material fact

issues:

                  “In 2014, Diggs was released to return to work by all three of his doctors, without
                   restrictions, but BNSF would not allow him to return to work. Instead, it made
                   him jump through one hoop after another for the next two years, trying to frustrate
                   him so he would give up.”

                  “Diggs’ supervisor, Waller, told him, that Gillam and Tuggle did not want him to
                   return because he was black. Gillam and Tuggle admitted they spoke to Waller
                   about Diggs’ returning to work. Gillam admitted he discussed Diggs’ medical
                   issues with Dr. Gillis. A reasonable jury could conclude that Tuggle and Gillam
                   were working with Dr. Gillis to make sure Diggs was not allowed to return to
                   work.”

                  “Isiah Waller was not aware of any other employees who had been out on medical
                   leave and released by their doctor, who were not allowed to return to work.”

                  “Tim Grubbs was not aware of any other employee having to jump through so
                   many hoops to return to work from medical leave.”

                  “John Eden Martin was out three times on medical leave and did not have to
                   provide his medical records, only a doctor’s release to return to work.”

            The first of these statements amounts to a charge that it was unreasonable for BNSF and

Dr. Gillis not to simply defer to the opinions of Mr. Diggs’ physicians, but instead to request

medical information from those physicians in order to determine independently whether Mr.

Diggs was fit to return to his job at BNSF. The Fifth Circuit has previously rejected a claim that

such a medical document request from an employer masks discrimination. See Jefferson v.

MillerCoors, L.L.C., 440 F. App’x 326, 330-31 (5th Cir. 2011). In this case, Mr. Diggs hasn’t

adduced evidence that anyone else was similarly situated to him medically, much less that such a

comparator was treated more favorably by Dr. Gillis. He has not adduced evidence that Dr.

Gillis’ records requests were medically unreasonable. And he has not adduced evidence that she




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made those requests because of bias against his race or disability.8 This is simply insufficient to

create a factual dispute about the reason that motivated Dr. Gillis: the need to ascertain that an

employee who had repeatedly claimed total disability during a five-year absence from work was

able to return to a physically demanding and safety-sensitive job.               See Gillis Deposition

Excerpts, Motion Exhibit 45, at 31:16-35:8

           For reasons already addressed, the other listed statements are similarly insufficient to

avoid summary judgment. The second, alleging conversations between Gillam, Tuggle and

Waller, relies upon hearsay evidence that is incompetent summary-judgment proof. Even if this

evidence were admissible (and it is not), it falls well short of what would permit a reasonable

jury to conclude that Dr. Gillis was influenced by another with illicit motives.9 To create a

factual dispute on that issue, a plaintiff “must submit evidence sufficient to establish two

conditions: (1) that a co-worker exhibited discriminatory animus, and (2) that the same co-

worker ‘possessed leverage, or exerted influence, over the titular decisionmaker.’” Roberson v.

Alltel Information Systems, 373 F.3d 647, 653 (5th Cir. 2004). Mr. Diggs can make neither

showing. First, the record is empty of evidence that Mr. Gillam or Mr. Tuggle harbored race- or

disability-based “discriminatory animus” against Mr. Diggs, and the response cites none.

Indeed, Mr. Waller—the source of this hearsay—has at no time testified that Mr. Gillam or Mr.

Tuggle did not want Mr. Diggs to return to work because of his race or disability. Second, the

           8
           Moreover, though Mr. Diggs has collected records and testimony from all of his treating
physicians, none has opined that it was medically unreasonable for Dr. Gillis to request medical
information regarding their conclusions about Mr. Diggs. That Mr. Diggs’ physicians thought he was fit
to return to work in 2014 does not create a fact issue regarding whether Dr. Gillis may have had unlawful
motives for asking to see the records underlying their determinations.

           9
          It also concedes the lack of any evidence that Dr. Gillis had improper motives or even knew of
Mr. Diggs’ race. “Plaintiffs use a cat’s paw theory of liability when they cannot show that the
decisionmaker—the person who took the adverse employment action—harbored any [discriminatory or]
retaliatory animus.” Zamora v. City of Houston, 798 F.3d 326, 331 (5th Cir. 2015).


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notion that Mr. Tuggle or Mr. Gillam “possessed leverage, or exerted influence, over” Dr. Gillis

is rejected by Dr. Gillis’ uncontested affidavit.           Mr. Diggs’ response fails to rebut this

meaningfully, stating only that “Gillam admitted he discussed medical issues with Dr. Gillis.”10

The Court is left to guess the content of those conversations. It cannot permit a jury to do

likewise.

           The third and fourth statements listed in the Response establish nothing other than that

two BNSF employees in Amory didn’t know of another BNSF employee who was similarly

situated to Mr. Diggs. . Finally, for the reasons set forth in § II, supra, among them that he

never submitted a return-to-work application to Dr. Gillis, Mr. Martin is not a valid comparator.

                                            CONCLUSION

           This race and disability discrimination suit solely contests the time it took BNSF’s

occupational medicine expert to approve Mr. Diggs’ request to return to active duty. Mr. Diggs

may only avoid summary judgment by pointing to admissible proof creating material factual

disputes concerning whether Dr. Gillis unlawfully discriminated against him under the ADA or

Title VII. But he has failed to specify any direct evidence of race or disability discrimination or

to supply an essential element of an indirect-evidence case by identifying a comparator who

received more favorable treatment from Dr. Gillis than he did. It’s undisputed that Dr. Gillis

approved Mr. Diggs’ return-to-work request in September 2016 shortly after he submitted all the

medical records she requested. Mr. Diggs offers no medical opinion that her records requests

were medically needless. Mr. Diggs offers no evidence that she made those requests due to bias




           10
           This is false even for the scant information it provides. Mr. Gillam did not “admit” discussing
Mr. Diggs’ “medical issues” with Dr. Gillam. At his deposition, Mr. Gillam explicitly testified that he
could not recall the substance of any conversations he might have had with Dr. Gillis about Mr. Diggs.
See Gillam Deposition Excerpts, Rebuttal Exhibit 4, at 8:3-16.


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against his race or his particular conditions. His admitted delay in satisfying her requests is the

only evidence explaining delay of the approval. There is no race or disability case to try.

           Respectfully submitted, this 13th day of December, 2016.

                                                      BNSF RAILWAY COMPANY

                                                      BY:    /s/ Benjamin Bryant
                                                             BENJAMIN BRYANT

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                                   CERTIFICATE OF SERVICE

           I, the undersigned counsel, do hereby certify that on December 13, 2016, I electronically

filed the foregoing with the Clerk of the Court using the ECF system which sent notification of

such filing to the following counsel of record:

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                                                       /s/ Benjamin Bryant
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